Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 1 of 33

EXHIBIT

 

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 2 of 33

Comrnonwealth of itiiassa_chusetts

BARNSTABLE, SS. TRIAL CDU RT DF `|'HE CO|'i/l MONWEALTH
SUPER|-O'R CUURT DEPARTMENT

civltooci<rrno, ito léiC\/l;i'_§:l

german/lin dui/198 ,Puvwrlrrisi, r”"”“"

J l 111 co ii
V` EMJEM oci/Ytiii§

C 011')€’ (`oc;i drachi/r\il DEFENDANnSi

. j ` ,s s \ ry 1 F J:J___o_.l..om
4 Dv'l/u."i\€ Tvyy) SUMMONS ii?iiii”£~`»iithli z -

mr F_...~-e-'

 

reis summons 1soir11;crtoro hope fed fi'ééi¢l@in i/) ,1o@ier1asm'5 name)

\’ou are being sued; The Plaintiff{s] named above has started a lawsuit against you. A copy of the
Plaintiff‘s Comp|aint filed against you is attached to this summons and the original complaint has been
filed in the §ezrnstable Superiot“ Court. YGU iViUST ACTPROIV|PTLY TO PRDTECT YQUR RlGl-ETS.

You must respond to this lawsuit in writing within 2f1 days. if you do not respond, the court rney decide

 

the case against you and award the P|aintlff everything asked for in the complaint You will also lose the
opportunity to tell yourside ofthe story. Y`ou must respond to this lawsuit in writing even ii you expect
to resolve this matter with the Plaint§ff. if you need more time to respond, you may request an
extension of time in writing from the Court 1

How to Respond. To respond to this lawsuit you must file a written response withl the court and rnail a
copy to the Plalntiff's Attorney (or the P|aintiff if unrep1esented) You can do this by:

Fi|ing your signed original response with the i lerk' s Ofi"ice for Civil Business, Sup er;i_o;H'Court,

by mail or in person to.: 3195_ _Madn Si_;tee_i:, Baroe cable, MA 02630

Deliverlng or mailing a copy ofy_our response to the P laintiff's Attorney/P|aintifl` at the following
address: '-PD <l.i" O'%CLFE>D\LPJ 31 E-Ul$:l"®il/\i’\l.§ ill/UL\ lillipo l 1
iilhatto include m your response An “Ansvver” is. one type ofresponse to a Cornplaint Your Answer
must state whether you ag1ee or disagree with the fact(s ) alleged 1n each paragraph of the Cornplaint.
Some defenses,-ca||ed affirmative defenses, must be stated in your Answer or you may lose your rightto
use them in court. lfyou have any claims against the Plalntiff {referred to as counterclaims} that are
based on the same facts or transaction described in the `Complaint, then you must include those claims
in your Answer'. Otherwise, you may lose your right to sue the Plaintifi about anything related to this
lawsuit |f you want to have yot:r case heard by a iury, you must specifically request a jury trial in your
Answer or in a written demand for a jury trial that you must send to the other side and file with the
court no more than 10 days after sending your Ansvver. \’ou can also respond to a Cornp!aint by filing a
"Nlotion to Dismiss,” if you believe that the complaint ls legally invalid or legally insufficient A i\/lotion
to Dlsrniss must be based on one of the legal deficiencies or reasons listed under ivlass. R. Civ. P. 12. ii
you are filing a i\/iotion to Disrniss, you must also comply with the filing procedures for "Civil i\.iiotions”
described in the ruies ofthe Court in Whlch the complaint was filed, available at

 

`www.rnass.gov.courts/case-iegal-res/rules of court

 

 

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 3 of 33

COMMONWEALTH OF MASSACHUSETTS
Barnsiabio, ss. Barnstablo Superior Cotn't

common NO. 1107;151/ Ll$$-

BENJ`AMIN W. AYRES ll
v.

CAPE COD ACADEMY
THOMAS TRIGG

VERIFIEI) COMPLAINT AN}) DEMANI) FOR JURY 'I`RIAL

NOW COMES the Plainti_ff, Mr. Benj amin W. Ayres lI, by and through his attorney, Ms.
ienny L. Margeson, and says as follows in his ooinplaint:

Pnrl:ies

l. Plaintiff Benj amin Ayres (hereinader referred to as the Plaintii`l` Ayi'os) is outrently, and Was
at all times pertinent boreto, a resident of the Conmtonwealth of Massaohusetts. The
Plaintiff Aytes had been employed as a librarian by the Dofend ant CAPE COD ACADEMY
(heteinai’ter referred to as “CCA”) since 2008, until the date oi`his termination at the end of
the 2014-2015 school yeari

2. Defendant CCA is an independent educational institution established under the laws of the
Comlnonwealth of Massaohusetts, With its school campus located in Osiez‘vilio,
l\/lassaohusetts, employing in excess of 50 individuals

3. ’l`he Defondani Tliomas ".i"rigg, (horeinaftor referred to as the Defendant Ttigg), upon
information and boliof, is a resident of the Cotnnionwealih of Massaohusoi.ts and, at all times
pertinent hereto, Was Head of School for the Dei:"ondant CCAj in Wlu`oh position he had
responsibility for the day~to~day operations of the Dei"endan.t CCA, including the
implementation of all personnel inattets, and Was a member of the `Boatd of Ttustees o;i` the
Defendant CCA.

`JURISDICTIONAL linn version ALLnoArIoNS

4. Venue is proper in this Couri; as the incidents alleged in this Coniplaint occurred in the
Coni.monwoalth of Massaohusetts.

5, This suit is brought end jurisdiction lies pursuant to the ll ederal Aniorioans With Disabilii;ies
‘ Act ("‘ADA”), the Fede.tel Fatnily and Medicai Loaye Ac'i (“FMLA” , the Foderul Ago

 

10.

ll.

l2.

13.

14.

16.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 4 of 33

Discrimination in Employment Act (“ADEA”), and Massachusetts General Law Chapter
15 lB, all of Which apply to public and to private employers The ADA covers employers
vvith 15 or more employees; the state iaw, MGL c. lSlB covers employers With 6 or more
employees

The Plaintiff filed a charge of employment discrimination With the Federal Equal
Employment Opportunity Cornmission and the Massachusetts Commission Against
Discrimination alleging violations of the ADA_, FMLA, ADEA and MGL c. 15 lB and has
received a Notiee of Right to Sue dated Aegust 5, 2016. Furtherj Plaintiff has filed this
action Within 90 days of receiving said Notice.

'I`he Plaintiff received an Authorization for immediate Private Suit letter from the
Massachusetts Attorney General’s F air Laber Division on Septernber 26, 2016,

Facts

l\/ir. Benj amin Ayres suffers from diagnosed and treated major depressive disorder and
bipolar disorderl

Mr. Ayres is a qualified individual vvith a disability He suffers from a mental impairment
that limits one or more of his major life activities, and he has a significant history of such
impairment, and has been treated repeatedly for his condition

Ayres is a Gl~year~old man Who is a member of two separate protected elasses: Age and
Disability.

Ayres began working for Cape C-od Academy as a fulltime librarian beginning in 2008.

During his employment, Ayres never received any discipline from CCA, or any negative
reviews, or poor performance evaluations.

Ayres Worked in the upper school library and at times provided assistance in the lower
school library as Well.

l\/ir. Ayres’s contract vvas renewed and he was reappointed as the upper school librarian
every year from the 2008-2009 school year through the 2014-2015 school year.

. At all times relevant hereto, CCA has had, and continues to maintain, a ll acuity l-landbool<,

vvhich is updated on an as needed basis and provided to all faculty members

Paragrapll X of the 2014-2015 CCA Faculty iiandbool< covers “CONTRACTUAL

DISCUSSIONS” and states, “During late Winter the Head of School normally offers to meet

individually With every faculty member to discuss professional performance pians, goals
and objectives You vvill be notified vvhen these appointments may be made.” -

 

 

17.
18.
19.

20.

Zl.
22.

23.

24.

25.
26.

27.

28.
29.

30.

31.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 5 of 33

l\lo such appointment vvas ever held between Trigg' and Ayres.
Trigg never observed Ayres vvorldng at the school
Trigg never evaluated Ayres’s vvork performance

Paragraph X of the 2014-2015 CCA Faculty Handbool< covers “CONTRACTUAL
DISCUS SIONS” and states, “Assunring stable or growing enrollment, faculty members can
expect renewal of appointment if the following positive factors are evidenced: A high level
of professional performance as described in the “Teacher Evaluation and Developnient”
process Respectt`ul and collegiai attitude toward fellow faculty, staff and administration
Active support of school policies A willingness to participate in the total life of the school
community A level of general conduct - in class and out ~ Which reflects a mature and
responsible standard before students colleagues and parents.”

Ayres met and or exceeded each cf the listed requirements
Ayres’s contract vvas not renewed for the 2015~2016 school year.

While employed at CCA he consistently exceeded the expectations of his employer,
received annual raises and excellent reviews

lie adequately performed the essential functions of his position with the school as librarian

During his eight~year employment vvith Cape Cod Academy, he had three inpatient hospital
stays for treatment relative to his mental disability vvhen he had an episodic flare up.

During these stays no one at the school knew he was receiving treatments for a mental disa~
bility.
Other faculty at the school believed that Ayres may have been suffering from cancer

After his ti‘eatinenn he Would return to Worl< and adequately perform the essential functions
of his job.

As a full time librarian Mr. Ayres Was earning $5l,000 per year; he Was paid in monthly
installments over the course of l2 months

For the 2013~2014 school year, his position Was reduced to a .625 FTE librarian position,
for alleged budgetary cuts, not performance related reasons and he Worlred at the school
receiving an annual salary of $3l,824.00 paid in 12 equal monthly installments

For the 2014~2015 school year, Ayres was again offered a .625 FTE librarian position with a
salary of$31,824.

32.

33.

34.

35.

36.

37.

38.

39.

401

41.

42.

43.

44.

45.

46.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 6 of 33

For the 2014~2015 a salary increase incentive was offered to all faculty in lieu of an annual
raise.

T his was to be paid as a permanent 330(}0 increase in salary upon completion of a
professional development course offered at the school in the fall of 2014.

This permanent salary increase Was to start being paid in lanuary 2015.

Additionally for the 2014-2015 school year, Ayres Was paid a $6{>00 annual stipend, in 12
equal monthly installments for his additional Worl< completed for the yearbool< at the
school.

This stipend figure Was calculated based on estimated additional hours of Worl< required by
Ayres in order to complete the yearbool<.

The school pays sports coaches approximately $3000 per sport per semester for coaching
said spoit.

This figure is calculated based on Worl<ing 3 hours per day, live days per Weel< for a ten-
Weelc period of time.

The estimated additional vvorl< hours for a sport coach are 150 hours based on the rate of
stipend pay.

Based on the rate of pay, it can be calculated that the estimated Worlc hours for yearbool< are
at least double that of a single semester sports coach.

Based on the rate of stipend pay it can be calculated that Ayres vvas estimated to vvorl< at
least an additional 300 hours for the completion of the yearbock.

The Work that Mr. Ayres did for CCA continued throughout the summer of2015 until
Aagust, When the yearbook is sent for publication

ln lanuary 2015, CCA fired the prior head of school and 'l`homas Trigg vvas hired to replace
him.

During CCA’s Wintcr break, in late December to early lanuary 2015, Mr. Ayres received
Electric Convulsive Treatment (ECT), while he vvas inpatient at l\/,tcLean i-Iospital in
Belmont, l\/lassac.husetts, for treatment of his mental disabilityl

fits doctors believed that the ECT treatment Would quickly fix his condition and after six to
ten sessions he Would be able to go bach to Work.

Mr. Ayres’s wife, Amanda Pacltard, who also vvorl<ed at CCA, requested P`MLA leave on
his behalf from the school on December 30, 20l4 and again in Writing on lanuary 6, 2015.

 

 

 

47.
48.
49.
50.

51.

52.

53.

54.

55.

56.

57.

58.

59.

60.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 7 of 33

The school denied this FMLA leave request for Benj amin Ayres.

No explanation was provided for this denial.

FMLA requires 1250 hours in 12 working months, or .6 FTE in order to be eligible
Ayres exceeded the number of hours based on his contracted for .625 FTE.

Ayres further exceeded the l250~hour requirement based on his additional hours as required
under the yearboolc work and stipend.

The ECT does have associative short-term memory loss as a side effect, but otherwise it was
very effective and Mr. Ayres produced a doctor’s note and returned to work on March lO,
2015.

On March 22, 2015, lvir. Ayres’s doctors decided to change his medication to an MAOI
inhibitor. As a result of this decision, and the potential lethal side effects of a medication
change if not done prcperly, Mr. Ayres returned to McLeanl l-Iospital for an anticipated two~
week stay to change his medication

None ofAyres’ supervisors or the human resources departments at CCA had knowledge of
Mr. Ayres mental condition until l\/larch 24, 2015.

On March 24, 2015 Mr. Ayres’s wife, Amanda Pacl<ard, notified the Headmaster of the
School, Tom Trigg, that her husband, Mr. Ayres, was suffering from a mental illness and
explained that he had been readmitted to l\/IcLea_n Hospital for a medication change for
treatment of his disability

Mr. Ayres’s wife notified his supervisors including 'l`om Trigg, that l\/Ir. Ayres would be
able to return to worlc, with a doetor’s note, within a few weeks of his medication being
changed

l\/_ir. Ayres was terminated from his librarian position ten days after the school learned that
he was suffering from a mental disabilityl

The lerarian position, is the only position l\/Iix Ayres held at the school that required him to
come into contact with students, parents, and other faculty on a daily basis at the schoold

Ayres has suffered from and been treated for his disability by the same psychiatrist, Dr.
lulie Callanan, since January 2012. (Please See Exhibit A that indicates l\/lr. Ayrcs was not
fully aware of his termination until after Labor Day 2015 when other teachers returned to
work and he did not.)

Des_pite suffering with this disability for a majority of his adult iife, Ayres is often able to

 

61.

62.

63.

64,

65.

66.
67.

68.

69.

70.

71.

72.

73.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 8 of 33

coordinate any necessary hospitalization in conjunction with school vacations, so he has
been able to perform his job without needing any accommodations from his employer

After they were notified that Ayres was suffering from a mental disability, the schoel, by
and through Tom Trigg, requested a Power of Attcrney from l\/lr. Ayres’s wife, Amanda
Packard.

A Power of Attorney was executed, while l\/lr. Ayres was inpatient at the hospital, on l§laster
Sunday, April 5 , 2015.

On April 6, 2015 , without notice to Benj amin Ayres or his wit`e, Mr. Ayres’s librarian job
was posted on the Cape Cod Academy website.

Mr. Ayres’s wife produced the Pcwer of Attorney to Tom 'l`rigg during a meeting with him
on A.pril 6 , 201 5 after l\/lr. Ayres’ s librarian position had already been posted on the website.

At this time the school stopped paying Ayres the contracted for 12 equal installment checks
relative to the $31,824.00 he received for work as a librarian.

Mr. Ayres was not notified directly that he no longer had a librarian position.

Neither, Mr. Ayres nor Amanda Pacl<ard were given the opportunity to explain when he
would be able to return, or asked if he needed an accommodation

Neither, l\/lr. Ayres nor Amauda Paclrard were given an explanation for the effective
termination that occurred while he was suffering from a disability and had requested FMLA
leave.

That evening, on April 6, 2015, the new headmaster, 'l`om Trigg, called Ayres’s wife,
Amanda Packard and left her a voicemail (available upon request) apologiaing for the way
the situation was handled, stating that it was an error.

On April 7, 2015, notes from l\/chean hospital sta.te, “[Patient] to have meeting with wife
and case manager on 4-/9/l5 to discuss l;patient’s] job loss and n'ialt'c a plan for [patient]
[suicide prevention] {discharge} in light of this change.”

On April 9, 2015 l\/ir. Ayres was notified by his doctors and l\/ls. Pael<;ard that he had been
terminated from the school, however due to the effects of the ECT treatment he had received
which caused short term memory loss he was not able to understand or process the news of
his termination

flis inpatient stay was extended as a result of his having a setback in his recovery from the
news

The reason for the extended inpatient stay was that Ayres was notable to fully comprehend

 

 

74.

75.

76.

77.

78.

79.

80.

81.

82.

83.

84.

85.

Case 1:16-cV-12249-WGY Document 1-1 Filed 11/07/16 Page 9 of 33

the news of his termination At first he needed to be retold daily.

Mr. Ayres continued to not comprehend the termination for months because he was not at
the school when the termination occurred so he was notable to grasp that this was a
permanent termination

'_l`he Neurology notes from l\/.chean hospital on April 10, 2015 states, “contract for work
will not be renewed next year. The wife of the patient is aware of this, but the patient is
not.”

On April 13, 2015 an email is sent to the faculty stating that Ben “may retire” next year.
(Please see Exhibit B)

On April 16, 2015, the headmaster wrote a very personal handwritten letter to Mr. Ayres
stating “While you have been away, people have told me how much l will enjoy getting to
know you” and “There is so much l have to look forward to in my new life on the Cape and
at CCA, and l hope you will be a part of that.” (Please see attached Exhibit C).

No one was hired to replace l\/lr. Ayres at this time

This letter, the voicemail stating the position being posted was an error, and the email to
faculty led l\/Ir. Ayres, and his wife, to believe that he would be welcome back to worl<.

Through August 2015, Ayres continued working from home for CCA on the yearbook
project lie continued to receive his monthly installment checks for payment of this worl<:.

Progress notes from l\/IcLean hospital dated April 21, 2015 indicate that “[p]atient was
unclear as [sic] whether he has definitely lost his job~states that it was something his wife
said,” (Please see attached Exhibit D)

On April 26, 2015 l\/lr. Ayres was released from his inpatient stay at the hospital. However,
he was, and still to some extent is, suffering from some of the ECT memory loss side effects
and he did not understand that he had permanently lost his job. '

Beeause of this memory loss, Mr. Ayres needed to be told repeatedly that he had been
terminated from the school.

This exacerbated Ayres mental health condition

The written documentation Ayres saw, from the faculty small indicating he may retire, to
the handwritten letter from the headmaster, stating that the headmastcr locked forward to
working with him at the school, coupled with /-\yres’ continued work on the yearboolc,
indicated to him that he still had aj cb and increased his confusion and lack of
understanding

 

86.

87.

88.

89.

90.

9l.
92.
93.
94.
95.
96.

97.

984

99.

100.

lOl.

Case 1:16-cv-12249-VVGY Document 1-1 Filed 11/07/16 Page 10 of 33

Because of his disability and the confusing statements and actions of the Head of Schocl,
Trigg, Ayres did not fully comprehend that he was no longer welcome at the school.

In fact, Mr. Ayres did not think anything was much different at all because he continued to
work for the school from home on the yearbook through August 2015.

Further, no one was hired to fill his position at the school while all of this was happening

Thereafter, in July Ayres began receiving disability payments through social security to
cover the loss of part of his paycheck.

Mr. Ayres continued from l\/larch until August to work on and complete the yearbook for the
school from home.

He attended graduation with his wife and took photos for the yearbook.

Ayrcs continued to work for the school until August 18, 2015, after his last paycheckl

On August 15, 2015, l\/lr. Ayres received his last stipend check for the yearbook work.
CCA hired a new librarian on August 28, 2015.

Ayres was replaced with a younger, less qualified individual

Ayres was not offered the position prior to it being filled

The first time that Mr. Ayres had a full understanding that he had been terminated from his
position with the school was after school was back in session on Septeinber 8, 2015, after
the labor Day weekend~~ when his wife and the other teachers went back to wcrk, and he
did not

At this time, l\/lr. Ayres was finally able to fully understand, prccess, and remember that he
was terminated front his position with the school and would no longer be working lt was at
this time that he had a reasonable understanding that he had lost his job and had been

replaced by a younger woman

This delayed understanding was a direct result of the shcrt~term memory loss associated
with the treatment he had received in lanuary for his disability

"i`o date, no one from the school has ever stated to l\/ir. Ayres that he was no longer working
at the school, not verbally or in writing, despite receiving hand written letters/notes from the
headinaster, and faculty and staff members having knowledge that he could be contacted

During all times relevant hereto CCA was, and continues to be, a member of the Naticnal
Association of lndependent Schools (hereinafter “NAIS”).

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 11 of 33

102. CCA advertises itself as such omits chsite.

103. ln order to be a member ot` NAIS, a school must adhere to the National Association of
Independent Schools Principles of Good Practice (hereinafter NAlS Principles) that CCA
advertises adherence tco.

104. Mernbership in the NAIS is contingent upon agreement to abide by the NAIS Principles,

105. One of the NAIS Principles in regards to the I-iiriug Prccess requires that “Current staff are
aware of openings.”

106. Trigg did not notify Ayres that there was an opening for a librarian

107. Torn 'I`rigg did not consider Ayres for the position, even though Ayres was more qualified
than the younger individual that was hired to replace hint

108. The NAIS Principles also state “When a faculty members future in the school is in question,
the supervisor devotes sufficient attention and resources to ensure that the situation is
resolved or that the faculty members departure from the school is handled With attention to
due process and dignity of the individual.”

lG9. The CCA Faculty Handbool< specifically articulates that a teacher can assume they have
tenure for the upcoming year, provided they are performing their jobs adequately, and that
there is stable or growing enrollment at the schooll

110. No attention Was given to Ayres.

lll.No one from the school spoke to Ayres.

112. The actions ci` the individual Defendants are imputable to the entire Defendant Board of
Trustees as each and every member of the Bcard l<ncvv or should have known ol` thc actions
described above

113. The Plaintift` requested a private right to sue letter from the Attorney General’s ofH ce.

ll4. On or about Septeniber 28, 2016, the Plaintiff requested a private right to sue letter from the
Massachusetts Ccnnnission Against Discrimination.

COUNT I
DISABILITY DISCRIMINATION- M.G.L. 1513 and ADAAA

ll`S, The Plaintiff hereby incorporates by reference paragraphs l~l lfl- above as if fully set forth
herein

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 12 of 33

116. The Plaintiff, as alleged above, has been discriminated against, in violation of the F air
Employrnent Practiees Act (G.L, c lSlB), in that the above adverse employment action (by
Defendant CCA) (failure to renew his employment contract) constituted unlawful
discrimination on the basis of his disability

117. The Plaintiff suffers from a diagnosed mental impairment that substantially limits one or
more major life activities, including at times his ability to vvorlc5 sleep, concentrate, read,
and care for himself, in addition to interacting With others

l 18. Thc Plaintiff is a qualified handicapped person because ofhis disability

119. The Plaintiff was subjected to an adverse employment action (failure to renew his
employment oontract).

120. At the time Plaintifi` was dismissed from his employment he vvas suffering from a qualified
handicap, as he Was inpatient at a hospitall

121 . At the time Plaintiff Was discharged from his employment he vvas performing the essential
functions of his position

122. At all times relevant heretc, the Plaintiff had, and continues to have, a diagnosed mental
disability that he receives treatment for.

123.The Plaintiff Was qualified and able to perform the essential functions of his position of
upper school librarian

124. The Plaintiff Was qualified and able to perform the essential functions of his position as
editor of the yearbool<.

125. T he Plaintiff vvas suffering from a serious health condition

126. That serious health condition resulted in the Plaintiff having a disabilityl

127. The Plaintifl." Was not offered a reasonable accommodation

128. 'l` he Plaintiff was terminated from the part of his employment Where he Was required to be
present at the schooll

129. Plaintlff Was terminated ll days aiter'Defendant CCA, by and through Defendant Tom
Trigg vvas notified that Ayres Was suffering from a mental disabilityl

130. Plaintiff Was terminated from the other part of his employment upon completion of his
Work.

10

 

Case 1:16-ov-12249-WGY Document 1-1 Filed 11/07/16 Page 13 of 33

l3 l. Plaintiff’s position remained open until August 28, 2015 when Defendant CCA filled it.

132, As a direct and proximate result of Defendant CCA’s and Defendant Trigg’s unlawful
discrimination as set forth above, Plaintiff has suffered lost wages, benefits, and loss of
employment opportunities, as well as substantial damages for pecuniary losses, mental
anguile loss of enjoyment of life, and other nonpecuniary losses.

C()UNT II
AGE DISCRIMINATION ~ ADEA

133. The Plaintiff hereby incorporates by reference paragraphs 1~132 above as if fully set forth
herein

134. The Plaintift`, as alleged above, has been discriminated against, in violation of the Age
Discrimination in Employment Act (ADEA) in that the above adverse employment action
(failure to renew his employment ccntract) constituted unlawful discrimination on the basis
of age.

135. Th'e Plaintiff was 60 years of age at all times pertinent to the allegations contained above
and thus was/is a member of the protected category.

136. The Plaintiff was subjected to an adverse employment action (_faihn‘e to renew his
employment contract).

137. "i`he Plaintiff was qualified for the position of an upper and lower school librarian.
1,38. The Plaintlff was qualified for the position of yearbooh editor.

139. The Plaintiff was replaced by a younger person

140. Plaintiff’s replacement was and is less qualified than the Plaintiff.

141 . Dei`endant CCA, by and through Defcndant Tom Trigg hired a younger replacement for
Plaintiff.

142. As a direct and proximate result of Defendant CCA’s and Defendaut Tom Trig_g’s unlawful
discrimination as set forth above, Piaintiff has suffered lost wages, benefits, and loss of
employment opportunities, as well as substantial damages for pecuniary losses, mental
anguish, loss of enjoyment of life, and other nonpecuniary losses

COUNT III
BREACH OF CONTRACT

143, The Plaintiff hereby incorporates by reference paragraphs 1-142 above as if fully set forth
herein

ll

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 14 of 33

144 The Plaintiff was offered a contract by the Defendant CCA.
145. The Plaintiff accepted the offer.
146. Plaintiff performed and continued to perform his duties under that contract

147. The Plaintiff was working under the contract and being paid by the Defen.dant CCA in
accordance with that contract

148. The Defendant CCA ceased paying the Plaintiff without notice

149. The Defendant CCA terminated the Plaintiff without notice

150. The Defendant CCA terminated the Plaintiff without justification

15 l . The Plaintiff and the Defendant CC_A had a valid contract

152. The contract required Plaintiff to be paid for 30 days after termination
153. Defendant CCA did not pay Plaintiff in accordance with the contract
154. T he Dcfendant CCA breached that contract

155. The Plaintiff failed to comply with its own policies in the faculty handbook and with the
NAIS principles

156. The .Plaintiff has suffered and continues to suffer damages as a result of the Defendant
CCA’s conduct

COUNT IV
VI()LATION OF FMLA~ 29 U.S.C. 2617

l$?'i’l`he Plaintiff hereby incorporates by reference paragraphs l-l56 above as if fuily set forth
herein

158, The Dcfendant CCA is an employer who is governed by and covered under the hainin and
Medical Leaye Act.

159. The Piaintiff was an employee of the Defendant CCA who is eligible for the Family and
Medical Lcave Act.

i60. 'fhe Plaintiff worked for the Defendant CCA.

161. The Plaintiff worked for the Defendant CCA for the prior 7 years including the preceding 12

12

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 15 of 33

months
162. The Plaintiff is a covered employee
163. The Defendant CCA has 50 or more employees
164. The Pia_intiff was suffering from a serious health condition
165, The Plaintiff was receiving inpatient care in a hospital.

166. The Plaintiff, by and through his Power of Attorney and Wife did request FMLA leave in
writing

167. The Defendant CCA failed to provide the Plaintiff with a Notice of Eiigibility flights and
Responsibilities form (Form WH~ZI 8 l).

168. The Defendant CCA failed to provide the Plaintlff with a Forrn WH~B 81.

169. The Plaintiff’s personnel file does not contain a Form Wl-I~BB l.

170. rha berman cea area is provide as assistant a rosa Wa~ssz

l7l.'l`he Defendant CCA faiied to give the Plaintiff the requested medical ieave under FMLA.

172. T he Defendant CCA did terminate the Ptaintiff from his job du1 ing the t2- week period that
the Plaintiff had requested FMLA leave

173. "l"he Plaintiff has suffered damages as a result of Defendant CCA’s conduct in denying him
FMLA leave.

i74 The Plaintiff has suffered damages as a result of Del"endant CCA terminating him during the
period of time that he had requested Fl\/lLA leave

COUNT V
RETALIATION

175. The Plaintiff hereby incorporates by reference paragraphs 1~l74 above as if fully set forth
herein

176. The Plaintiff, as alleged above, has been discriminated against, in violation of the F air
Ernployine11tPractices Act (M. G l_,. c l§lB) 111 that the above adverse employment action
(by Defen`dant CCA and Dcfcndant Tom mrigg)1 (tailure to renew his employment conti act)
constituted unlawful discrimination on the basis of his disability

13

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 16 of 33

177. The Plaintiff suffers from a diagnosed mental impairment (serious medical condition) that
substantially limits one or more major life activity, including at times his ability to vvorlc5
sleep, conoentrate, read, and care for himself, in addition to interacting With others

178, Defendant CCA, by and through Defendant Tom 'I`rigg, terminated Plaintiff upon learning
of his diagnosed mental impairment

l79.Ti1e Plaintiff, by and through his power of attorney and Wife, did request FMLA leave
180. The Plaintiff did request a reasonable accommodation in asking for_FMLA leave

iSl. After Plaintift" s request, he Was terminated from his employment position by Defendant
CCA.

182. Requesting reasonable accommodation is a protected activityl
183.Plai11tiffis not a “lcey employee” as defined as an exemption

lS¢l. Defendant CCA vvould not suffer an undue hardship by allowing Plaintiff to take the
requested FMLA leave for medical treatment

185. Defenclant CCA did not hire a replacement for Plaintiff until on or about August 28, 2015.

186. As a direct and proximate result ofDefendant CCA’s and Defendant Tom Trigg’s unlawful
discrimination as set forth above, Plaintiff has suffered lost Wages, benefits and loss of
employment opportunitiesj as vvell as substantial damages for pecuniary losses, mental
anguish, loss of enjoyment oi:` life, and other nonpecuniary losses

C()UNT V[
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

187. The Plaintiff here by incorporates by reference paragraphs 1-186 above as if fully set forth
herein.

188. The actions stated above constituted extreme and outrageous conduct on the part of the
Defendants CCA and Trigg and vvere beyond all possibie bounds of decency.

i89. The Defendant CCA ceased to pay the Plaintii`f during the time that he Was inpatient at a
psychiatric hospital receiving treatment for his diagnosed mental disability

190. The actions of the Defendants CCA and Trigg Were intentional and/or reckless, and Were
designed to intlict emotional distress on the Plaintiff.

191 .The Dcfendants CCA and Trigg denied the PlaintifFS FMLA requests

14

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 17 of 33

192.Fur'ti1er the Defendants CCA and Trigg knevv, or should have known that severe emotional
distress was likely to result from their actions in terminating the Plaintiff while he was
inpatient at a psychiatric hospital.

193. The distress was severe and of a nature that no reasonable person could be expected to
endure.

194. Receiving letters from Defendant Trigg complementing the Plaintiff’ s work after Defendant
CCA terminated Plaintiff caused severe distress

195.T11e Defendants’ actions resulted directly in the Plaintiff”s distress

COUNT VII
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

196. The Piaintiff hereby incorporates by reference paragraphs 1~195 above as if fully set forth
herein

197. The Defendant CCA and Defendant Tom ’frigg were negligent in terminating the Plaintiff
from his employment while he was inpatient at the psychiatric hospital

198. The Defendant CCA’s and Defendant To_rn '1`rigg"s negligence caused the Plaintiff to suffer
emotional distress, including an extended stay at the hospital, an updated suicide prevention
plan and an updated discharge plan

199. That emotional distress caused the Plaintiff to sutter actual physical harm

200. That physical harm was manifested by objective syinptomology and is supported by medical
testimony and doctor’s records, including, but not limited to: loss of sleep, extended
inpatient ho spitaiization, and anxiety

201. ’i`he distress the Plaintiff suffered was reasonably foreseeable

202. The Plaintiff did suffer damages as a result ofDefendant CCA’s and Dei`ondant 'l`om
Trigg’s conduct

PRAYER FOR RELIEF
`i)i/l-ll§§R`EFORiiJ the Plaintiff prays that this Honorable Court enter judgment in favor of
the Piaintiff, award all fees, costs, and attorney’s fees to the Plaintiff, award front pay, back pay,

emotional distress damages and punitive damages to the Plaintiff, and enter any other judgment
this l-lonorable Court deems tit

15

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 18 ot 33

Dated October 17, 2016

Respect[ully Subrnitted,
Benjamin W. Ayres II,
By his Atterney,

nle@W/SW

l Jenny L. r eson

800 l\/_[ain Street, 2 loor
Post Oftice Box 1427
East Dennis, MA 02641
(508)237~7840

BBO# 679611

 

Under oath l, Benj amin W. Ayres ll do hereby swear and depose, that the facts included in this
complaint are a true and accurate description of the events, to the best of my knowledge

/H~]%/)e

Benjeénin W. Ayres ll

l6

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16

EXHIBIT A

Page 19 ot 33

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 20 ot 33

luiie Callanan, MD

Adu|t Psychiatry

22 Steep|e Street, Suite 202
PO Bo>< 2076

i'\/lashpee, iviA 02649

{SOBl»364-3366
{508) 681-8408 [fax}

August 12, 2016
To vvhom it may concern:

l am vvriting regarding Ben Ayres (Date of Birth: 11/08/1954).

Benjamin Ayres received electrconvuislve therapy (ECT) at i\/ici.ean hospital from 12/2014-04/2015 due
to severe depression l-iis treatment vvas prematurely terminated in April due to severe cognitive
impairment i-le suffered from both antercgrade and retrograde amnesia and on the advice of a
Neuroiogic Consultation the treatment Was discontinued to allovv time for the ECT~assoclated
encephaiopathy to improve. i=o|lovving his hospital discharge1 Ben continued to suffer from severe
cognitive deficits iviemory loss is not an unusual side effect cf ECT and is Weii documented Treatment
is however usually continued to remission of depressive symptoms unless the impairment is noted to be
severel Unfortunately due to this severe impact on his memory, Ben's treatment Was terminated and he
continued to struggle With severe depression and cognitive impairment throughout the summer of
2015. During this time he vvori<ed on the Cape Cod Academy school yearbool< and appeared to believe
he still had a job, despite hearing from his spouse that his position had ended in September vvhen Ben
did not return to vvori< With his vvife and the other tacuity, and vvith the siovv improvements in his
cognition, he began to understand and retain the concept that his employment had been terminated
Losing his iob, significantiy impacted the course of Ben's i|iness. Being able to vvori<, and resume normal
lite activities, is a crucial component for achieving vvel|ness vvhen someone struggles vvith a depressive
iiiness. Being out cf vvorlc left Ben vvithout the usual social supports, structure, and feelings of
accomplishment vvhich help someone to recover. Unfortunate|y Ben has hot returned to the baseline
ieve| of functioning vvhich he achieved following his other periods of depression and he is now tully
disabled in all of the prior periods of illness he vvas able to return to vvorl< before he Was fully recovered
and by re-engaging vvith society he vvas able to reach full remission ot his iiihess. Untortunate|\/ vvith the
termination of his employment during his last exacerbation this has not been the case.

lt you have any further questions or concerns, please do not hesitate to contact met

Sincereiv,

(/&;_ O/ Lk»'"_,..i;_ liver 4 l
5- /

*s,_.§/'

Julie Cai|anan, [\/iD, PhD

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 21 of 33

EXHIBIT B

 

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 22 of 33 i

Subject: i-"Wd: sharing personnel updaies Wii;h parents
From: Amenda Pacl<ard (apaokard@capeoodacademy.org)
To: jmargesoneeq@yahoovcom;

Date: Tueeday, Auguet iG, 20i6 2223 Pi\/i

Sent from my iPhonc

Begin forwarded rncssage:
From: <dayros@bidrno.harvard iedu>
Bate: Aprii 14,2015 at 7521:36 Ai\/i EDT

To: <apackard @capccociacadcmy.org>
Subject: RE: sharing personnel updates With parents

got it how Was itc Sun and Mon?

 

Frozn; Amanda Schooi [apackard@oapecodacademy.org_l

Scnt: i\/londay,Aprii 13, 2015 iO:i.’?. PM

To: Si:cvo Ayres; Ayres,Dougias; Hcather W.; Caroline Ayres; Erniiy; Sarah Ayres; David Ayrcs
Silbject: -Fwd: sharing personnel updates With parents

You can skip to the Bcn part This is going out to ali fainiiics tonight Ho knows nothing about it
so please don`t tail hint

Ama,nda
Sont from my inonc

Bogin forwarded mossago:

Prom: Torn Trigg, <ttri gg@ oapooodacadomy.org<maiito ;ttrigg@oapecociaoademy.org>>
Dato:\ Apl‘il 13, 2015 at 7.'11:07 P-i\/l EDT

To: " .Aii Stai°f and Facuity"
<iaculty_adrnin@capccodacadcmy.org<maiito:facuity_adinin@capccodacadcmy.org>>
S.ubjcct: sharing personnel updatcs Witii parents

 

Dcar CCA coileaguos,

Last Weok Wc spoke about some personnel changes Wncn We gathered in the library l asked you
to keep tire news of those changes among us until l had prepared a_mcssagc for parents Tonight l
Wiii bc sending the update (copicd for you at tire end of this mcssago) to ali CCA parents it
contains the same substance as you heard last weck, With one further update regarding Shannon:
l told you last chk that Shannon had asked a few Wocks ago to step away from her role as

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 23 of 33

Director ot Adrnissions as of this luly in order to regain a healthier balance in her lite as parent,
spouse and protessional. Today, however', Shannon met With l\fiary lane and me to say she Would
like to step-down immediately l respect her reasons for this and have begun plans to Work With
an ad hoc group of colleagues and parent volunteers to see the current admissions season into the
hands of a new inll~time director of admissions this summer. Yoa'll be happy to know that Chioe,
Emma, and Don all Will remain at CCA for the remainder of the year.

Dear CCA Parents,

On a very irregular basis l vvrite a brief "cornmunity update" to my CCA faculty & staff
colleagues 111 Which l share news such as Whether a colleague is going to be away for a
daughters Wedding, if someone is recovering after an illness ete. Moze iecentiy, l have been
sharing updates about bigger life changes 01 changing roles and l thought you might ii lie to know
some of this news

Rccuperations:

Dorothy Wyetb (l\/iS English and niath) has returned to teaching as oi` today. l-Ier recovery from
surgery has been smooth, and she even came in for our admissions Open House this weekendl

lrene Santos (l\/iS/US health and PE) is relieved to be out of a cast and enjoying the relative
freedom of a “l;)oot.” She still hopes to be back to her teaching role in early May.

Retirernents:

Both Diane donee (US Spanish) and l\/lary l"at Vo gt (US math) told C.athy Cetta this Winter that
they Would like to retire at the end of the year. l am sad that We vvill lose their talents and
unselnsh commitments to CCA, their students and the positive spirit ot` the faculty community

We have already completed a successful search lt`or Dianels full-time replacement, a woman with
lO_ years' experience teaching both middle and upper school Spanish~~beginner through AP. i\/iary
Pat‘s teaching load, at this point, looks as though it vvill be absorbed largely by colleagues tvith
an additional section or two perhaps taught by a part-time hire.

l\/lore recently, We learned that Ben Ayres (l\/iS/US Librarian), who has been on medical leave
since Decernber, may be retiring in the coming year.

We are iteeping Ben's plans in mind as We begin the process of redenning the roles of
library/technology/research/' spaces and resources in the future of our libraries at CCA. We are
committed to our book collections and the student experiences ot library spaces but also
Wondering What We could do to improve the spaces and how the professional roles of librarian

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 24 of 33

and technology integrators could work in synergy. l\/leanwhile, the LS library is starting to come
back to life this spring with the help of LS teachers collaboratin g with parent volunteersl

Othcr Departures:

We also learned this month that Aaron Crowell T86 (MS/US science) will be leaving at the end of
the year for a position in a larger, public school system, something he began looking for last year.
l have tried hard to persuade Aaron to stay with this community and institution--a place he loves
and has helped shape for most of the last 30+ years As you can imagine if'you know hirn, he has

been very deliberate about this life decision~- giving great priority to his family's needs even as he

respects the desires et CCA to keep him here because of his great contributions to the lives of
students and colleagues~both in the classroom and on playing fields l'm happy to report that
we ve already had some promising candidate interviews in the search for Aaion s science
department 1eplacement

Shannon l\/lott has stepped down as Director of Adniission. Shannon began her work at CCA
when she was asked to take on communications and marketing as a mid~year hire in November
2012. Liast lanuary, she was asked to also lead admissions-cri top of communications and
marketing-en overwhelming load in two areas that are crucially important to CCA`s vitality
Shannon has given tremendous time and effort to her work but told me last week that she has
decided she needs to rebalance her life for the health of her family. We will work with an ad hoc
group of colleagues and patents to see the current admissions season into the halide of a new full~
time director of admissions this summer.

Last weei<, Lower School Dean Barb Goydas met with LS faculty to let them know she has been
reflecting on her first year in an administrative role and has determined she will not be returning
next year. l have admired the self-confidencea good huinor, and professional perspective that
Barb has exhibited as she explains that she just hasn‘t felt "the ht," as she put it, between her
talents and skills as a long~time teacher and support specialist and the roles of the administrator
guiding and leadin g a divisionl l have begun work with the LS faculty to define the leadership
qualities and priorities that will shape our search for a new dean.

Arnou g the search priorities will he expertise in early childhood developmental science, an
ability to articulate and lead toward a vision for LS education, the emotional and practical skills
to meritor faculty and work with parents as partners

The last update is actually old news, butl never shared it explicitly in broadcast

Tliis lanuary, when we learned Ginny living would be leaving her Annual Fund role in the
development office and we decided we wouldn‘t till her position, l asked l\/lichelle litton '89 to
shift her focus to work on alumni relations and alumni events, the alumni giving to the Annual
Fund, and community outreach and event-driven marketing that gets CCA~~both our name and
our people~~-out into the Ca.pe community

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 25 of 33

l am hopeful that l\/lichelle‘s work can help CCA evolve toward having more active alumni
engagement with their s'chool. CCA has a lot of work to do in order to mature in this area which
is so basic to the health of an independent school, but the fruits will be great

* more active presence of alumni in the consciousness of current students-thus shaping new
graduates' understanding ct what it means to be an alumnus;

* promoting alumni interest in the well-being and future of the school;

* increased giving to the Annual Fund--somcthin g that needs to support more of the costs of
sustaining the institution for future generations

Related to Michclle's move and our playing liman down“ since Ginny‘s departure, l have asked
Jean l\/lcCutcheon (Dir. cf Developrnent) to focus more on parent and past parent relations and
successfully closing the the Annual Fund in the coming months Our major gifts work is being
relegated to trustees and me_

Ovei' the course of the next few weeks and perhaps months l will share with you other shifts in
staffing arrangements if/as they unfoid. As l said in my recent letter to parents and remarks in
public gatherings, we are committed to preserving and strengthening student and parent
experiences at CCA even as we look hard at ways we can improve our management of expensesa
especially on the administrative side.

Tliis message is intended for the use of the person(s) to whom it may be addressed lt may
contain information that is privileged, confidentiai, or otherwise protected from disclosure under
applicable law. lf you are not the intended reelpient, any dissemination, distribution, copying, or
use of this information is prohibited ll" you have received this message in error, please
permanently delete it and immediately notify the senderl Thank you.

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 26 of 33

EXHIBIT C

 

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 27 of 33

 

§ 1111-13a § .<:)-1:1 11 § 11 131 111 11

T1»11)11As 13 H 'I`RLGG
l 1161ch of 813|1.9{)1

 

 

  
 
 

___. A 4 `|

- §§ f 631/g f¢,@§` £1.;,_¢§“5_'? .<-‘k,»»f¢:r»@_
&11:1@£?1 W~:»Ms: /7: 311/4 /1;§__,,j ._M
j 19{_2¢(” HZM~‘€:,/E/

M.Af}:{d/’?G 1114 c':*”i/
ZU¢ f?f:/§MFW
11 1117 / 1

.,,,;?‘£ z¢1/@ ?»111/11’ F

 

`»

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 28 of 33

 

L/(Fj( %:MAQQM (/Z}MF:O/f MM

¢JAW 511£
361 611/16 66 11;@71" 1

711 61
701/w WZMJ/`" 1111£%£ W

 

 

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 29 of 33

§ 226 212 111 § 0 131 621 §' 61 §_,_12;_ 111 Y_

  

T'HOMA$ 134 116 113111§§1 ~
bland i;)_f §§]ma`i

"1'66,66 6…_,
/i’£‘@~¢’/{I’?¢ MMM?¢{H=?M 462¢)/¢62~;66£2"¢ %E*¢"*§’ "FJ"*-

 

 

666 2/ 66 66 6626 ;666 6216 266/662

Cé’¢€f 656 "‘/61/ 61 6<26§16”66{‘§'6~66%27'
2 /1//61666 656/616 661 6515166,?612’?62

     

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 30 of 33

/ ' j’i/‘L M-J yz;z§w@/JMWZ:ALM 65611 d
6 6 666 66{666/666 l6_/6,6665

 

j "{/13:/§.»-" ¢/6'4-8/$/\‘-»’

 

797/916 ,¢/J»éi/£/,§L /a_. 655/wa /¢£/’L_. /A:,¢/;)‘W //id/
333/1726 AA¢M 5;,/(61#?/ _6,6§_6_l 1

6/6676; ///WMM 636` /§662'16§22'?,6?16?/§21/666/

JJM 64 M»ML~ ZL“S’;YXM " 24…‘?2

522 62
562/2666

z§ /Z'/A€: Zf::“? 562/6“6621.6(:‘: 7

 

 

/1/¢./2’3129 2116~266266&£6 261//‘ j 3

   

 

 

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 31 of 33

EXHIBIT D

 

Case 1:16-cv-12249-WGY Document

'.»‘4.0!'113..?0\5 B`.WAM

1-1 Filed 11/07/16 Page 32 Of 33
Nc). 9qu V\ 4

         

    
   

-@@;;Mgl,‘¢qma¢spstal‘ '-::'.:'.;::::;;..'&s:::11:,_:.':'»,§::::_:3!;: v
" \ . …ROQY cc)NSULT TIC)N
I"~leucc)psychiatry and Be.hav'mml I\T::urolngjr (NBN) Sa=.rvice

N:\mc: Ay\'cs, !~_ n `chuu\lng Mu:nding:

Bnn|mnin Ge\dl\, Sieven

`M¥LTQ: Ml'.'“§l

DO`B*. Ll/OB/.’:'¢l

Bvah\nL)on 'Dz\Le\

4/10/15 ,
Loc.1(lon1

ADE-ll[lB

il '
usi wl

   

 

gsr cur\)nck:i so dc works pact-timm nod lm went

yc:nrs. [-Ils }o`u hours wore cut 2 yours ngn, due to loud
rla I*Iis wife works in the same sclmn\ ns he

buck to Wocl: 1 week nga but is not Eun::ticming at \vo
doas. Hn denies physicnl, sexual or emotional abuse hx.

* Notnb!;', pmjcnt has caselaer mail during Lhis admission 151
renewed this ;'cm:. Tl\e wife of tlm pmcnr is aware of Lhis, imc the patient is noi‘:.

pt his qnclcr.'\cl far work wil¥ non be

}
4

l

PHYB[CAL EXAM E
!
vs 1=; 74 BP: 122/76 mm N/A T: 932
Gcncml \l'fei| nomishcd, in no uppar.r.m disums
HBENT I\TCA"J.`i mcrae c}¢:\:, no corn¢a\ discoloration, no phm~ng@al ¢q»rhcmn
Chesc Clear m auscuimdon biiz\rernl¥ji
CV S"ISZ, no murmu:a/n:‘¢s gnl]ops
M)douu:n 50£¢, noni¢ndcr, muran bowel sounds
4 Si~:fn d~L-uddy color ofneck and chr_s.:. + Psm-s\s':s pl:\ciue nn 1ch elbow

MENT'AL S'I`AI"_US E}EAM l
App‘eamnce Wenrihg P] panta, T-shirl, and hood`m, d-£odo:mesh;rg':ene, dressed nppmprimaly! F:<i: eye
lcon'm;i¥ _ ___ n ___ A__.__ M

Behnv!o): Cn!m md cooperau've, + psyclmmoior ngimion in beginning of exam with swinging uf

jj s back and fn:rhl im mud duu'n in{'e.:vi¢_w_
I’nuciry ofwo:<is n‘t 'dmcs. + hmrcascd lucaan prior co accruing sc

srzu:u:d, normal raiie, rhvcl:m, rune. ____

_M§Qd ` in bit dEELcsscd" ‘ _H m _

 

__________
Spccch nccnce/;:csponse. Onca

 

 

 

 

AHE_§§W__ Dys}g_l_\”oricl re_.\:mic_r:.i___“____¢ m
Tlmught P:oucsp Pnssihi]iqr of rhuu“gb:~hlociung, n}r'lmugh mfu:,; long phases in speecl\, would Pic;ic up nn
‘ same topic. '

_,#~{~4.4.4

 

Thml_£l_rl_ut Cn:m:nt NQ hI/_:Fjll. Nc) evidence oFE:\E¢lnole\ mr obsess)§_r_\§` _W__FM` __m

 

 

 

Insl llr _&QM_%_"B_H';__HJ__W_MM
E\:‘EIMM_WM __J_…_A~,M_M_PP_~_.

COGNITYVE E)CI‘LM `
Lc:\’¢} of Cor\sciuuahcss: .A\c:t
Cogm`ti*,'e Funar`mn
\ Dig|r. Spm\: l"'rmvn:d 5/ Bnc|<wnsd3
v MoCABcocc:E§/JD
- anmlAsscssmcm finnequ 15/}8
v Or:icnt:-Ltion: Oricntcd m piac¢, dam dn;', dmc,

 

and p¢rson

 

E\".\n D. .\lummy, M.D.
Dcp».\rrmcm oFNcumlogy
Mc{.enn Hosp§mi

P¢;c¢gt{éh __W`J DMM AH _§VH; no geracp:un§_g§normnli§;§_qgii§ ______________ d

 

 

 

 

 

 

 

Case 1:16-cv-12249-WGY Document 1-1 Filed 11/07/16 Page 33 of 33

!*.$*.N l?b%>‘§€ \HS 1324'525

 

MCLEANHQSPHAL AYRES‘BENJA… _ PHQEWLM___*
PROGRESS NOTF,S . A K A _

l_`OB 11/06/54 ABE
No. Narnc R'F_i\[li“\ 03/23/\‘3 §§ ‘

 

 

LWW;MS §§NH©MF%UMHE&HDWLMM€§www@f%

m w m mmam Mw mmm\\\;

\t>é§r\{\)»$ \:>\<> S§MLM;:M,
ms mw ®L\v\ 914 M¢E …
MMS: m \)\m\§¢, mic/oh ©YM/) _&Q,L§PM

U§Y\Q:€”M MQM&L §§> M§§ LSML;_,
W\§\/D@>)MG%M§:SI

,_“____.¢...»_--".__

 

 

 

 

 

 

 
  

3 F\¥ri|/l&¢ XUM' Pl§'£f:]AFM%FMML/'x/,km/h§#¢?f/ .

,»'.‘l"a.,,'h’¢,` h -‘J(.L,) l
95ij GJ;rJ/<PMA[,;N[‘rM,?if;f//`Yi/Fjlj!- fm ~" T'?-‘ ./;,¢.- 'M»%édéfz;/ '”M

M

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§§50 rev 03/02

 

 

